8:14-cr-00409-BCB-MDN        Doc # 145     Filed: 08/10/15    Page 1 of 8 - Page ID # 452




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,    )
                             )
              Plaintiff,     )                                  8:14CR409
                             )
         V.                  )
                             )
SHANE SEIZYS, EMMANUEL )                                   FINDINGS AND
CHAPLAIN, DILANG DAT, THOMAS )                           RECOMMENDATION
JONES-ROSS,                  )
                             )
              Defendants.    )
                             )


      The defendants in this action are charged in a multi-count indictment (filing 1) with
charges stemming from robberies that occurred in June and July, 2014. This case is presently
before the Court upon motions to suppress filed by Defendants Emmanuel Chaplain
(“Chaplain”) (filing 80), Shane Seizys (“Seizys”) (filing 83) and Thomas Jones-Ross
(“Jones-Ross”) (filing 89). An evidentiary hearing on the motions was held before the
undersigned on June 2, 2015.

       Having heard testimony and reviewed the evidence on this matter, and for the reasons
explained below, the undersigned will recommend to Chief United States Judge Laurie Smith
Camp that the motions be denied in their entirety.

                                         FACTS

       On June 23, 2014, a robbery occurred at the Kum & Go convenience store located at
1010 South 154th Street in Omaha, Nebraska. Witnesses to the robbery described the
suspects as two, dark-skinned black males. Witnesses also indicated that the suspects wore
dark hooded sweatshirts and one suspect had a bandana over his face. The suspects were
seen leaving in a silver or white sedan.

       A few minutes after the Kum & Go was robbed, police were dispatched to the area
8:14-cr-00409-BCB-MDN         Doc # 145      Filed: 08/10/15    Page 2 of 8 - Page ID # 453




of 90th and Maple Streets in Omaha regarding a silver Oldsmobile Aurora stalled in traffic.
Although there were no occupants of the vehicle present when police arrived at the scene,
Officer Chad Wiebers had driven by the Oldsmobile earlier while on his way to another call.
At that time, Officer Wiebers observed several occupants of the vehicle and made eye contact
with the driver.

       Law enforcement discovered that the Oldsmobile was registered to Tamiko Jones,
Defendant Jones-Ross’s mother. Tamiko Jones was interviewed by police and informed
officers that Jones-Ross was previously in possession of the vehicle. A photo lineup that
included Jones-Ross’s picture was shown to Officer Wiebers. The line-up included
photographs of six black males, with features similar to those of Jones-Ross. Officer
Wiebers was able to identify Jones-Ross as the driver of the Oldsmobile.

       On July 16, 2014, the Game Stop located at 9959 Redick Circle in Omaha, Nebraska
was robbed. Video games were taken in that robbery. Approximately twenty minutes later,
the Kentucky Fried Chicken (“KFC”) located at 7601 North 30th Street in Omaha was
robbed. Omaha Police Officer Patrick Dempsey received a call to respond to the scene of
the KFC robbery at 6:58 p.m. Officer Dempsey testified at the hearing that he arrived on the
scene less than 45 seconds after the call. Upon his arrival, a KFC employee told him that the
restaurant had just been robbed by two black men and that they had run eastbound. The
witness stated that she observed the suspects changing their shirts near a white Ford Mustang
that was parked approximately a block away from the KFC. Officer Dempsey testified that
he went to the area of the Mustang and was approached by another individual who stated that
the men continued eastbound and possibly southbound. Officer Dempsey transmitted this
information over his police radio.

       Officer Chad Frodyma and his partner, Officer Petrick, heard Officer Dempsey’s radio
call. Officer Frodyma testified that he recalled hearing over the radio that three black males,
two of whom appeared to be of Sudanese descent and two wearing white t-shirts, had run
from the area. Officer Dempsey does not recall providing a detailed description of the
suspects over the radio.

       Officer Frodyma stated that he and Officer Petrick arrived in the area of the KFC

                                              2
8:14-cr-00409-BCB-MDN         Doc # 145     Filed: 08/10/15     Page 3 of 8 - Page ID # 454




approximately a minute to a minute and a half after Dempsey’s radio call. Officer Frodyma
then heard a second radio call indicating that a witness saw the parties leave a car parked on
29th Street and head east and to the south. Officers Frodyma and Petrick started toward that
area. Approximately three to four blocks away from the KFC, Officers Frodyma and Petrick
observed three black males, two of whom appeared to be of Sudanese descent and one was
wearing a white t-shirt. Officer Frodyma testified that he observed the individuals within
three minutes of the time the initial call came out. The officers exited their vehicle and
detained two of the men, who were later identified as Defendants Seizys and Dilang Dat
(“Dat”). Dat was pat down, and officers located a key that matched the Mustang in his
pocket. The third-man, later identified as Defendant Chaplin, fled upon seeing the officers,
but was detained a short time later.

       Police Sergeant Russell Petersen also responded to the scene of the KFC robbery and
spoke to employees. Sergeant Petersen testified that he was told by witnesses that some of
the suspects were wearing gray sweatshirts and at least one had a red bandana. Sergeant
Petersen stated that, without entering, looked into the Mustang and could see a gray
sweatshirt, red bandana and video games in plain view.

        The officers decided that a “show-up” would be done where witnesses would view
the suspects and see if an identification could be made. Seizys, Chaplain and Dat were all
transported to the parking lot of the KFC, and then separated and placed in separate police
cruisers. Witnesses were individually brought to the scene and placed in an unmarked police
cruiser. One at a time, each suspect, cuffed and accompanied by armed officers, stepped out
of a police cruiser and presented to each individual witness for identification. Two witnesses
who were behind the counter when the robbery occurred, William Booth (“Booth”) and
Audrey Chaney (“Chaney”), positively identified Seizys as a participant in the robbery.
Chaney described the first suspect as a dark complected black male, six feet tall, with a dark
hooded sweatshirt and lighter colored pants. She described the second suspect as a lighter
complected black male, with a red bandana, gray sweatshirt and dark jeans. Booth described
one suspect as wearing a red bandana with a gray hooded sweatshirt, light complected in his
mid-20's. He described another suspect as being a dark complected black man, six feet tall,
slim build, wearing a blue bandana and white pants. When Seizys presented to Booth for
identification, Booth said he was certain that Seizys was one of the robbers. Three other

                                              3
8:14-cr-00409-BCB-MDN         Doc # 145      Filed: 08/10/15    Page 4 of 8 - Page ID # 455




witnesses who participated in the show-up were unable to identify anyone. The show-up
started at 8:53 p.m.

        The Mustang was subsequently seized by police. Police found a fictitious license
plate taped to the rear of the Mustang. It covered a plate belonging to Edward Chaplain,
Defendant Chaplain’s brother. The vehicle was searched before it was towed to the Omaha
Police Impound Lot. The following day, police asked Edward Chaplain for permission to
search the Mustang. Edward Chaplain denied consent. Consequently, the police applied for,
and received, a search warrant. The application for the search warrant did not disclose to the
issuing judge that police searched the vehicle at the scene.

       After Seizys was arrested, further investigation led officers to discover that he was on
parole and wearing an electronic tracker on his ankle.

                                       DISCUSSION

        Chaplain has moved to suppress all evidence obtained from the Mustang on the basis
that the vehicle was searched in violation of his Fourth Amendment rights. Chaplain also
seemingly asserts that there was no probable cause for his arrest.

      Similarly, Seizys claims that there was no probable cause for his arrest, the
Oldsmobile and Mustang were searched illegally, and the show-up that included him was
unduly suggestive. Also, on account of these alleged violations, Seizys argues that the
government should be barred from using all GPS tracking information.

       Jones-Ross contends that the identification procedures used by police were
impermissibly suggestive and the photo line-up shown to Officer Wiebers should be
suppressed. Jones-Ross claims that the identification evidence is unreliable because Officer
Wiebers had an inadequate opportunity to view the driver of the Oldsmobile. Jones-Ross
also asserts that the reason he was placed in the photo line-up was based on statements made
by Tamiko Jones. Jones-Ross asserts that Tamiko Jones was threatened by police into
making statements regarding Jones-Ross’s possession of the Oldsmobile.

       Each of the alleged grounds for suppression will be discussed below.

                                              4
8:14-cr-00409-BCB-MDN         Doc # 145     Filed: 08/10/15     Page 5 of 8 - Page ID # 456




       1.     Search of the Vehicles

       Seizys contends that the search of the Oldsmobile was unlawful. Seizys argues that
the search conducted prior to the vehicle being towed to the Impound Lot exceeded the scope
of a mere “inventory” search, as evidenced by the presence of crime-lab technicians on the
scene.

       As stated at the evidentiary hearing held on this matter, Seizys’s motion to suppress
evidence obtained from the Oldsmobile is denied.1 “An individual asserting Fourth
Amendment rights must demonstrate that he personally has an expectation of privacy in the
place searched, and that his expectation is reasonable.” U.S. v. Barragan, 379 F.3d 524, 529
(8th Cir. 2004) (quotation omitted). “If a defendant fails to prove a sufficiently close
connection to the relevant places or objects searched he has no standing to claim that they
were searched or seized illegally. Id. at 529-530 (quotation omitted). Seizys has not shown
that he had an expectation of privacy or an ownership interest in the vehicle that was
registered to Tamiko Jones and, as a mere passenger in the vehicle, Seizys cannot claim a
legitimate privacy interest. Id. at 530. Therefore, he lacks standing to challenge the search
of the vehicle.

       Likewise, Chaplain and Seizys lack standing to object to the search of the Mustang.
The vehicle was registered to Edward Chaplain and the key to the vehicle was found in
Defendant Dat’s pocket. There is no allegation that either Defendant Chaplain or Seizys had
an ownership interest in the vehicle. As the Court previously ruled at the hearing on this
matter, neither Chaplain nor Seizys have standing to contest the search of the Mustang.

       2.     Arrest

       Chaplain and Seizys claim there was no probable cause for their arrest. The Court
disagrees.


       1
         To the extent, if any, that Defendant Jones-Ross contends that the search of the
Oldsmobile was unlawful, the Court specifically finds that he also lacks standing to raise the
issue. Jones-Ross does not contend that he has any ownership interest in the vehicle, nor has
he shown any reasonable expectation of privacy in the vehicle or its contents.

                                              5
8:14-cr-00409-BCB-MDN         Doc # 145     Filed: 08/10/15     Page 6 of 8 - Page ID # 457




       “Police may conduct a brief investigative stop when they have reasonable, articulable
suspicion that a person is committing or is about to commit a crime.” U.S. v. Horton, 611
F.3d 936, 940 (8th Cir. 2010). Reasonable, articulable suspicion “requires less than probable
cause of criminal activity, but the suspicion cannot be based on an inarticulate hunch.” Id.
“The existence of reasonable, articulable suspicion is determined by the totality of the
circumstances, taking into account an officer’s deductions and rational inferences resulting
from relevant training and experience.” Id. “Various behaviors and circumstances can
contribute to, or be sufficient to provide, reasonable, articulable suspicion,” such as
“unprovoked flight at the sight of an officer.” Id. (citation omitted). “Also, a stop is
typically justified when a suspect matches the description of a person involved in a
disturbance near in time and location to the stop.” Id.

        On July 16, 2014, officers were dispatched to the area of the KFC where a robbery
had just occurred. Within three minutes of hearing Officer Dempsey’s radio call, Officers
Frodyma and Petrick saw Chaplain, Seizys and Dat within four blocks of the KFC. These
individuals generally matched the descriptions of the suspects. When the officers exited the
vehicle and told the men to stop, Chaplain fled. Under the circumstances, there was clearly
a reasonable, articulable suspicion to stop these individuals.

        The totality of the circumstances also supports probable cause for arrest. The key to
the Mustang was found in Dat’s pocket. In the Mustang, there was a red bandana and gray
sweatshirt. These items matched the description of clothing worn by the suspects during the
robbery. Further, Seizys was later identified by two witnesses as one of the suspects and, as
previously noted, Chaplain fled from the scene when approached by the officers. “Probable
cause for an arrest exists when the totality of circumstances demonstrates that the arresting
officer personally knows or has been reliably informed of sufficient facts to warrant a belief
that a crime has been committed and that the person to be arrested committed it.” U.S. v.
Reinholz, 245 F.3d 765, 778 (8th Cir. 2001). The undersigned concludes that the police
officers had probable cause to arrest Chaplain and Seizys.

       3.     Identification Evidence (Photo Line-Up & Show-Up)

      “The Supreme Court has long recognized that the Due Process clause affords a
defendant the right to suppress identification testimony which is not trustworthy.” U.S. v.

                                              6
8:14-cr-00409-BCB-MDN          Doc # 145     Filed: 08/10/15     Page 7 of 8 - Page ID # 458




Salais, No. 8:05CR420, 2006 WL 1401675, at *4 (D. Neb. May 17, 2006). The Eighth
Circuit has found that a two-part test should be employed to test the reliability of
identification procedures. First, courts are to consider “whether the identification procedures
were impermissibly suggestive.” U.S. v. Johnson, 56 F.3d 947, 953 (8th Cir. 1995) (citation
omitted). If the procedures are found to be impermissibly suggestive, courts are to look to
“the totality of the circumstances to determine whether the suggestive procedures created a
very substantial likelihood of irreparable misidentification.” Id. (internal quotation omitted).
In determining whether the suggestive procedures created a substantial likelihood of
irreparable misidentification, courts consider “(1) the witness’s opportunity to view the
suspect at the time of the crime; (2) the witness’s degree of attention; (3) the accuracy of any
prior description given by the witness; (4) the level of certainty demonstrated by the witness
in making the identification; and (5) the length of time between the event and the
identification.” Clark v. Caspari, 274 F.3d 507, 511 (8th Cir. 2001).

       Jones-Ross contends that the photo line-up was impermissibly suggestive. Jones-Ross
also asserts that his identification stemmed from comments his mother made under duress.
Having heard the testimony, the undersigned concludes that there is no credible evidence that
the photo line-up was unduly suggestive or created a likelihood of irreparable
misidentification. Officer Wiebers testified that he was able to clearly view the driver of the
vehicle. The Court finds Officer Wiebers credible. Officer Wiebers was shown a line-up
containing head shots of six-African-American men with short hair and facial features similar
to Jones-Ross. He was able to positively identify Jones-Ross. Moreover, there is no credible
evidence that any statements made by Tamiko Jones were made under duress or were
otherwise involuntary.

       Similarly, there is no evidence to support Seizys’s argument that the show-up created
a substantial likelihood of misidentification. Each witness who identified Seizys was behind
the counter at the KFC when it was robbed and had a good opportunity to view the suspects.
The witnesses were able to give detailed descriptions of each suspect. Booth expressed that
he was absolutely certain that Seizys was one of the robbers. Moreover, the length of time
between the robbery and the show-up was relatively short. The robbery occurred at
approximately 6:58 p.m. and the show-up began at 8:53 p.m.



                                               7
8:14-cr-00409-BCB-MDN         Doc # 145     Filed: 08/10/15     Page 8 of 8 - Page ID # 459




       4.     GPS Evidence

       Seizys claims that the analysis of the GPS tracker assigned to him should be
suppressed on account of the illegality of arrest, identification procedures and vehicle
searches. The Court rejects this argument. There has been no showing that Seizys was
arrested without probable cause, or that the identification procedures were suggestive to the
degree to taint the witnesses’ identification. Moreover, Seizys has cited no authority
supporting the position that GPS tracking information should be suppressed when it is
checked after a suspect is identified.

      IT IS HEREBY RECOMMENDED to Chief District Court Judge Laurie Smith
Camp that Defendants’ motions to suppress (filings 80, 83 & 89) be denied in their entireties.

       A party may object to a magistrate judge’s order by filing an objection within fourteen
(14) days after being served with a copy of the findings and recommendation. Failure to
timely object may constitute a waiver of any objection.

       DATED August 10, 2015.

                                           BY THE COURT:

                                           S/ F.A. Gossett
                                           United States Magistrate Judge




                                              8
